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                        IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT
                                  STATE OF ILLINOIS

   TERRY L. LANEY JR.                           )
              Plaintiff,                        )
                                                ) Cause No. 3:18-cv-1768-JPG-SCW
                                                )
                  vs.                           )
                                                )
   PRAIRIE FARMS DAIRY, INC. et. al.,           )
             Defendants.                        )


                                 ENTRY OF APPEARANCE

          Comes now Donnell Smith and enters as attorney for TERRY L. LANEY JR. in

   the above captioned cause.

                                                Respectfully submitted,

                                                SMITH AND ASSOCIATES, LLC

                                                 __/s/ Donnell Smith___________________
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                                     Certificate of Service

           The undersigned certify that a copy of the foregoing electronically filed with
   notice to all parties of record on 27th day of September, 2018.



                                                ____/s/ Donnell Smith________________
                                                Donnell Smith




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